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                    IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF MISSISSIPPI
                             SOUTHERN DIVISION


JOHN A. ORTLAND                                                                PLAINTIFF

V.                                           CIVIL ACTION NO.1:07-CV-1075 LG RHW

HARRISON COUNTY MISSISSIPPI, ET AL.                                        DEFENDANTS


     RESPONSE BY DEFENDANTS PAT OLSEN AND HEALTH ASSURANCE LLC
              TO PLAINTIFF’S MOTION TO COMPEL (DOC #64)


        Defendant Pat Olsen and Defendant Health Assurance LLC file this response to the

Motion to Compel (#64) Plaintiff filed and state:

                                              1.

        Plaintiff has never propounded discovery to Defendant Olsen and Defendant Health

Assurance.

                                              2.

        On November 5, 2009, Plaintiff called Defendant’s counsel and asked for the

following information:

        (a)    The name of the person who was employed by Health Assurance and in charge

of the medical department at the Harrison County Adult Detention Center on September 8,

2004.

        (b)    The name of the Health Assurance personnel who were on duty on

September 8, 2004 between 12:00 a.m. and 11:00 a.m.

        (c)    The physical address of Defendant Health Assurance.
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       (d)    The identity of a Mr. David DeCelle [sic].

                                               3.

       Although Plaintiff has not filed a formal discovery request, Defendants respond to this

motion by providing the information requested by Plaintiff during the November 5, 2009

telephone conference and state:

       (a)    Ms. Rita Parker was the Health Assurance employee who was in charge of the

medical department on September 8, 2004.

       (b)    The Health Assurance, LLC employees who were on duty between 12:00 a.m.

and 11:00 a.m. on September 8, 2004 are as follows:

              Amy Coulton
              Mary Husley
              Shirley Morton
              Chuck Norris
              Brenda Pleasant
              Sonja Polk
              Jennie White

       (c)    The physical address of Defendant Health Assurance is 5903 Ridgewood

Road, Suite 320, Jackson, Mississippi 39211.

       (d)    Mr. David DeCelle was employed by the medical provider who contracted

with the Harrison County Adult Detention Center to provide medical care to the inmates

before Health Assurance assumed that contractual responsibility and Mr. David DeCelle may

have worked for Health Assurance for a short period of time, but probably was not employed

by Health Assurance on or about September 8, 2004.




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       Additionally, Defendants are producing a copy of a medical record for Plaintiff

Ortland that is attached hereto as Exhibit “A”.

       FOR THE FORGOING REASONS, Defendants Pat Olsen and Health Assurance

LLC ask the Court to deny Plaintiff’s Motion to Compel.

       THIS the 5th day of November, 2009.


                                                      Respectfully submitted,

                                                      PAT OLSEN AND
                                                      HEALTH ASSURANCE, LLC


                                                      /s/Robert H. Pedersen
                                                      Walter T. Johnson (MSB #8712)
                                                      Robert H. Pedersen (MSB #4084)

OF COUNSEL:

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                               CERTIFICATE OF SERVICE


       I, Robert H. Pedersen, as counsel for Defendant Health Assurance LLC, hereby certify

that I have this day electronically filed the foregoing with the Clerk of the Court using the

ECF system which sent notification of such filing to the following:

       JIM DAVIS, PA
       P. O. Box 1521
       Gulfport, MS 39502
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              Attorney for Defendant Rick Gaston


       Cyril T. Faneca
       DUKES, DUKES, KEATING & FANECA
       P.O. Drawer W
       Gulfport, MS 39502-0680
       Cy@ddkf.com
              Attorneys for Defendants David Brisolara, George Payne, Captain Phil Taylor
              and Diane Gaston-Riley


       Karen Jobe Young, Esq.
       Meadows Riley Law Firm
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       kyoung@datasync.com
              Attorney for Defendant Harrison County, Mississippi




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and I hereby certify that I served a true and correct copy of the above and foregoing pleading

via United States Postal Service, postage prepaid, and also by facsimile (228-832-6926), to

the following non-ECF participant:

              John A. Ortland
              c/o Mason Ulm Taylor
              10325 34th Avenue
              Gulfport, MS 39503

       THIS the 5th day of November 9, 2009.


                                                   /s/Robert H. Pedersen
                                                   Walter T. Johnson
                                                   Robert H. Pedersen




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